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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND

UNITED STATES

Vv.

DAVANTE HARRISON, et. al.

Case No.: 1:19-cr-00575-CCB

REQUEST FOR DETENTION HEARING

Davante Harrison, by counsel, hereby requests that a detention hearing be held as soon as

practicable for the Court and the Government and further states:

1. On November 26, 2019, Mr. Harrison appeared for his initial hearing before the Court.

2. A detention hearing was scheduled for December 2, 2019

3. At the hearing on December 2, 2019, the Defendant consented to detention, reserving

his right to request a detention hearing in the future.

4. Mr. Harrison is now ready to pursue his release at a detention hearing.

5. Please set in a hearing at the earliest opportunity convenient to the Court and

Government counsel.

Respectfully submitted,

/s/
Thomas W. Rafter
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Baltimore, MD 21201
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 30" of March, 2020, a copy of the foregoing Request was

served electronically by email to: Office of the United States Attorney, 36 South Charles Street,
Fourth Floor, Baltimore, MD 21201, and all defense counsel.

/s/
Thomas W. Rafter
